                          UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF PA
                                HARRISBURG DIVISION

 In re: SANDRA FAYE HARRISON                  §       Case No. 1:15-bk-02256
                                              §
                                              §
              Debtor(s)                       §
         CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


 CHARLES J. DEHART, III, Chapter 13 Trustee, submits the following Final Report and
 Account of the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee
 declares as follows:
        1) The case was filed on 05/28/2015.

        2) The plan was confirmed on NA.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
           NA.

        4) The Trustee filed action to remedy default by the debtor(s) in performance under the
           plan on 12/17/2015, 05/09/2016, 09/15/2016, 10/04/2016.

        5) The case was dismissed on 12/15/2016.

        6) Number of months from filing or conversion to last payment: 18.

        7) Number of months case was pending: 20.

        8) Total value of assets abandoned by court order: NA.

        9) Total value of assets exempted: $0.00.

        10) Amount of unsecured claims discharged without full payment: $0.00.

        11) All checks distributed by the Trustee relating to this case have cleared the bank.




 UST Form 101-13-FR-S (9/1/2009)




Case 1:15-bk-02256-MDF         Doc 82     Filed 02/22/17     Entered 02/22/17 14:41:43           Desc
                                             Page 1 of 4
 Receipts:
       Total paid by or on behalf of the debtor(s)               $ 6,765.31
       Less amount refunded to debtor(s)                         $ 6,398.47
 NET RECEIPTS                                                                        $ 366.84



 Expenses of Administration:

        Attorney's Fees Paid Through the Plan                         $ 0.00
        Court Costs                                                   $ 0.00
        Trustee Expenses & Compensation                            $ 366.84
        Other                                                         $ 0.00

 TOTAL EXPENSES OF ADMINISTRATION                                                    $ 366.84

 Attorney fees paid and disclosed by debtor(s):                  $ 1,000.00



 Scheduled Creditors:
 Creditor                                         Claim        Claim       Claim   Principal      Interest
 Name                               Class      Scheduled     Asserted    Allowed       Paid          Paid
 DAWN CUTAIA, ESQUIRE               Lgl             0.00         NA          NA        0.00          0.00




 UST Form 101-13-FR-S (9/1/2009)




Case 1:15-bk-02256-MDF         Doc 82       Filed 02/22/17    Entered 02/22/17 14:41:43        Desc
                                               Page 2 of 4
 Summary of Disbursements to Creditors:

                                               Claim              Principal          Interest
                                               Allowed            Paid               Paid
 Secured Payments:
       Mortgage Ongoing                            $ 0.00             $ 0.00             $ 0.00
       Mortgage Arrearage                          $ 0.00             $ 0.00             $ 0.00
       Debt Secured by Vehicle                     $ 0.00             $ 0.00             $ 0.00
       All Other Secured                           $ 0.00             $ 0.00             $ 0.00
 TOTAL SECURED:                                    $ 0.00             $ 0.00             $ 0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                $ 0.00             $ 0.00             $ 0.00
         Domestic Support Ongoing                  $ 0.00             $ 0.00             $ 0.00
         All Other Priority                        $ 0.00             $ 0.00             $ 0.00
 TOTAL PRIORITY:                                   $ 0.00             $ 0.00             $ 0.00

 GENERAL UNSECURED PAYMENTS:                       $ 0.00             $ 0.00             $ 0.00



 Disbursements:

        Expenses of Administration               $ 366.84
        Disbursements to Creditors                  $ 0.00

 TOTAL DISBURSEMENTS:                                               $ 366.84




 UST Form 101-13-FR-S (9/1/2009)




Case 1:15-bk-02256-MDF         Doc 82   Filed 02/22/17   Entered 02/22/17 14:41:43   Desc
                                           Page 3 of 4
         12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
 the estate has been fully administered, the foregoing summary is true and complete, and all
 administrative matters for which the Trustee is responsible have been completed. The Trustee
 requests a final decree be entered that discharges the Trustee and grants such other relief as may
 be just and proper.




 Date: 02/13/2017                        By: /s/ CHARLES J. DEHART, III
                                                STANDING CHAPTER 13 TRUSTEE

 STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
 Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




 UST Form 101-13-FR-S (9/1/2009)




Case 1:15-bk-02256-MDF           Doc 82      Filed 02/22/17      Entered 02/22/17 14:41:43          Desc
                                                Page 4 of 4
